                           United States District Court
                                EASTERN DISTRICT OF W ISCONSIN


S.C. JOHNSON & SON, INC.

                       Plaintiff,

               v.                                                Case No. 10-C-681

GRAHAM KENT PHARR,

                       Defendant.


                                 COURT MINUTES
                    HONORABLE CHARLES N. CLEVERT, JR., PRESIDING


Date:                  August 6, 2013

Proceeding:            Telephonic Status Conference

Start Time:            3:17:44 p.m.                              End Time: 3:21:10 p.m.

Court Reporter:        FTR Gold                                  Deputy Clerk: Kris Wilson

Appearances:           Plaintiff:     Attorney Rebecca Farley plaintiff
                       Defendant:     Graham Kent Pharr, pro se

Disposition:           Plaintiff’s oral motion to dismiss defendant Pharr is granted.

                       This case is dismissed with prejudice and without costs.




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